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 1   RUSSELL S. HUMPHREY, CSBN 208744
     THE HUMPHREY LAW GROUP
 2   1420 S. MILLS AVE. SUITE H
     LODI, CA 95242
 3   TEL. (209)625-8976
     FAX. (209)625-8673
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 7                                      IN THE UNITED STATES DISTRICT COURT
 8                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                                )   CASE NO. 2:12-cr-0376-WBS
                                                              )
11
                                Plaintiff,                    )
                                                              )   STIPULATION AND [PROPOSED]
12
             v.                                               )   ORDER TO EXCLUDE TIME
                                                              )
13
     JOREGE MEDINA VASQUEZ,                                   )
     ROBERTO JOSE VASQUEZ, and                                )
14
     DIEGO FERNANDO LIMON RODRIGUEZ,                          )
     Aka, Jonan Oscar Gonzalez                                )
15
     Martinez, aka, Cholo,                                    )
                                                              )
16
                               Defendants.                    )
                                                              )
17

18            The parties request that the status conference in this case be continued from January 14, 2013, to February

19   19, 2013 at 9:30 a.m. They stipulate that the time between January 14, 2013, and February 19, 2013, should be

20   excluded from the calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

21   served by the Court excluding such time, so that counsel for the defendants may have reasonable time necessary for

22   effective preparation, taking into account the exercise of due diligence. 18 U.S.C. 3161(h) (7) (B) (iv), Local Code

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 3                         The parties stipulate and agree that the interests of justice served by granting this continuance outweigh the

 4   best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h) (7) (A).
 5

 6                                                                                Respectfully Submitted,
                                                                                  RUSSELL S. HUMPHREY
 7                                                                                Attorney at Law
 8   Dated: January 11, 2013                                   /s/ Russell S. Humphrey
                                                               Attorney for Jorge Medina Vasquez
 9

10
     Dated: January 11, 2013                                   /s/ Tim Tuitavuki (auth. 01/10/13)
                                                               Attorney for Roberto Jose Vasquez
11

12
     Dated: January 11, 2013                                   /s/ Arturo Hernandez (auth. 01/11/13)
                                                               Attorney for Jorge Medina Vasquez
13

14
     Dated: January 11, 2013                                   /s/ Jill Marie Thomas (auth. 01/11/13)
                                                               Assistant U.S. Attorney
15
                                                                         SO ORDERED.
16

17
     DATE: January 11, 2013

18   DEAC_Signature-END:




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